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                                               United States District Court
                                               Eastern District of California




I   State of Nebraska, et al.
                                                                 Case Number:     I   2:2 4-c v-01 364
    Plaintiff(s)

    V.
                                                                 APPLICATION FOR PRO HAC VICE
    Steven S. Cliff ,in his official c apacity, et al .          AND ORDER

    Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
_Mi                      _ i_ i
  _ _c h_ a_ e_ l _ R_ . W    l_ l a _ _ s __________hereby applies for permission to appear and participate as
                                   _ m
counsel in the above entitled action on behalf of the following party or parties:
State of W es tVirginia

                     _ _ 2 ___(date), I was admitted to practice and presently in good standing in the
             _ _ 1_2 02
On ___03_ _116
_______W_es_ tV            _ i     _ _nia
                             _ _ rgi    _ _______ (court). A certificate of good standing from that court is
submitted in conjunction with this application. I have not been disbarred or formally censured by a court of
record or by a state bar association; and there are not disciplinary proceedings against me.


Di have �VII have not concurrently or within the year preceding this application made a pro hac vice
application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and
whether granted or denied.)




Date:       05/16/2024                                                                Mic hael R . Wil liams
                                                      Signature of Applica nt: / s/



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Pro Hac Vice Attorney

Applicant's Name:                 Michael R. Williams

Law Firm Name:                    West Virginia Attorney General's Office

Address:                          State Capitol Complex, Bldg. 1, Rm E-26
                                  1900 Kanawha Blvd. E

City:                             Charleston                     State:       WV     Zip: 25305
Phone Number w/Area Code: (304) 558-2021
City and State of Residence: Charleston, WV
                                   michael.r.williams@wvago.gov
Primary E-mail Address:
Secondary E-mail Address:


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name:             Eric J. Hamilton

Law Firm Name:                    Nebraska Department of Justice

Address:                          2115 State Capitol



City:                             Lincoln                        State:       NE    Zip:       68509

Phone Number w/Area Code: (402) 471-2683                                  Bar #    CA 296283




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.




               Dated: June 3, 2024
                                                            JUDGE, U.S. DISTRICT COURT



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